  Case:18-40873-EJC Doc#:56 Filed:01/23/19 Entered:01/23/19 16:29:31                                                          Page:1 of 1
                                            IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE SOUTHERN DISTRICT OF GEORGIA


In the matter of:

MARK EDWARD HOGG                                                                     Chapter 13
90 DAILEY DRIVE
GUYTON,GA31312
                                                                                     Case No.     18-40873-EJC
                                                                                                                         FILED
                                                                                                               Lucinda
                                                                                                                 SamuelB.L.Rauback,
                                                                                                                            y,      Clerk
                                               Debtor(s)
                                                                                                            United States Bankruptcy Court
                                                                                                                  Savannah, Georgia
                                                     ORDER ON CONFIRMATION                                                  . pm, Jan 23, 2019
                                                                                                           By ebonanni at 4:17


     After a hearing to consider confirmation ofthe plan in the above-styled Chapter 13 case K is hereby determined that confirmation is:

                Denied and the case is dismissed.

                Denied and the case is converted to a case under Chapter?.

                Denied and the case is dismissed with prejudice against refiling for180 days.

                    ^ Unless converted to a case under Chapter7 within fifteen(15)days.
                Granted upon condition that:

                          Debtor pay $                                 by                                                            .

                          Debtor Pay                       .per.                             . until.

                          Debtor attends next scheduled § 341 Meeting and no timely objection to confirmation is filed thereafter.
                          If an objection is filed, confirmation will be reassigned for hearing.

                          Debtor makes all future payments to the Trustee in a timely manner. Upon any default, the Trustee
                          shall file and serve a Notice of Non-compliance. If no request for a hearing is filed within fourteen(14)days
                          of the Notice of Non-compliance, the case will be dismissed. No such request should be filed unless
                          the Trustee's notice is factually inaccurate.

                          Debtor pay balance of filing fee by
                Continued to                                          at                                               .a.m./ p.m.

                          Upon payment of $
                                          .                                        .by.

                          With payments of $.                              .P®L.                                     .in the interim;

                          Debtor's counsel is ordered to file a modified plan by.

                          Debtor's counsel is ordered to file objection(s) to claim(s) by.

                          Upon condition that Debtor(s)




                Upon the failure of Debtor or Debtor's counsel to strictly comply with the terms of this Order the case may
                be dismissed without further notice or hearing.

SO ORDERED.




Dated January 10.2019                                                                EDWARD J. C0LEMAN, III, Judge
                                                                                     U.S. Banknidrcy Court
                                                                                     Southerp^istrict of Georgia
cc: Debtor          ]1
     Debtor's Atto^y                                                                                                                        68
     Chapter 13 Trustee            V.


     Jeff Narmore, For The Chapter 13Trustee
              GA Bar #412079
